Official Form 22A (Chapter 7) (04/07)

            Richard Browning, Jr.
 In re      Jessica Browning
                                   Debtor(s)
                                                                                                  According to the calculations required by this statement:
 Case Number:            07-62601                                                                         The presumption arises.
                                   (If known)
                                                                                                          The presumption does not arise.
                                                                                             (Check the box as directed in Parts I, III, and VI of this statement.)


                             CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                       AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly, whose debts are
primarily consumer debts. Joint debtors may complete one statement only.


                                               Part I. EXCLUSION FOR DISABLED VETERANS
              If you are a disabled veteran described in the Veteran's Declaration in this Part I, (1) check the box at the beginning of the Veteran's
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
     1
                 Veteran's Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in 38 U.S.C. §
              3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. § 101(d)(1)) or while
              I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).


              Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.      Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury: "My
                    spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the purpose
     2              of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income") for Lines
                    3-11.
              c.      Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                    ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the six   Column A       Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before the
              filing. If the amount of monthly income varied during the six months, you must divide the six-      Debtor's       Spouse's
              month total by six, and enter the result on the appropriate line.                                    Income         Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                                         $      4,288.68    $               0.00
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
              Do not include any part of the business expenses entered on Line b as a deduction in Part
              V.
     4                                                                     Debtor                 Spouse
               a.    Gross receipts                                 $               0.00 $                  0.00
               b.      Ordinary and necessary business expenses                    $               0.00    $              0.00
               c.      Business income                                             Subtract Line b from Line a                   $           0.00   $               0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                   Debtor                 Spouse
               a.    Gross receipts                                $               0.00 $                0.00
               b.      Ordinary and necessary operating expenses                   $                0.00   $              0.00
               c.      Rent and other real property income                         Subtract Line b from Line a                   $           0.00   $               0.00
     6        Interest, dividends, and royalties.                                                                                $           0.00   $               0.00
     7        Pension and retirement income.                                                                                     $           0.00   $               0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     8        expenses of the debtor or the debtor's dependents, including child or spousal support. Do
              not include amounts paid by the debtor's spouse if Column B is completed.                                          $           0.00   $               0.00




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              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     9        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $               0.00   Spouse $              0.00   $           0.00   $                0.00
              Income from all other sources. If necessary, list additional sources on a separate page. Do not
              include any benefits received under the Social Security Act or payments received as a victim of a
              war crime, crime against humanity, or as a victim of international or domestic terrorism. Specify
              source and amount.
    10                                                                      Debtor                  Spouse
               a.                                                   $                       $
               b.                                                   $                       $
              Total and enter on Line 10                                                                                            $           0.00   $                0.00
    11
              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column
              A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                             $       4,288.68   $                0.00
              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
    12        Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,
              enter the amount from Line 11, Column A.                                                                              $                            4,288.68


                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13
              Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
              12 and enter the result.                                                                                                             $            51,464.16
              Applicable median family income. Enter the median family income for the applicable state and household
    14        size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

               a. Enter debtor's state of residence:                        MI               b. Enter debtor's household size:          4          $            72,591.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.

    15
                  The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not
                   arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                      Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                                       $
              Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line 11, Column
    17        B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's dependents. If you
              did not check box at Line 2.c, enter zero.                                                                                           $
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                                          $


                   Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing, household supplies, personal care, and miscellaneous.
    19        Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family size and
              income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                       $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS
    20A       Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information
              is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                       $




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              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
              of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter the
    20B       result in Line 20B. Do not enter an amount less than zero.
               a.       IRS Housing and Utilities Standards; mortgage/rental expense                 $
               b.       Average Monthly Payment for any debts secured by your home,
                        if any, as stated in Line 42                                                 $
               c.       Net mortgage/rental expense                                                  Subtract Line b from Line a.         $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines
              20A and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your contention
              in the space below:
                                                                                                                                          $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
    22
                    0      1         2 or more.

              Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
              number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                              $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of
              vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
              than two vehicles.)
                    1      2 or more.

              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
    23        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter the result in
              Line 23. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs, First Car                 $
                        Average Monthly Payment for any debts secured by Vehicle 1,
               b.       as stated in Line 42                                                     $
               c.       Net ownership/lease expense for Vehicle 1                                Subtract Line b from Line a.             $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if
              you checked the "2 or more" Box in Line 23.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter the result in
    24
              Line 24. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs, Second Car                $
                        Average Monthly Payment for any debts secured by Vehicle 2,
               b.       as stated in Line 42                                                     $
               c.       Net ownership/lease expense for Vehicle 2                                Subtract Line b from Line a.             $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    25        federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                       $
              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                            $
              Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
    27        term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or
              for any other form of insurance.                                                                                            $




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              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
    28        required to pay pursuant to court order, such as spousal or child support payments. Do not include payments on
              past due support obligations included in Line 44.                                                                           $
              Other Necessary Expenses: education for employment or for a physically or mentally
    29        challenged child. Enter the total monthly amount that you actually expend for education that is a condition of
              employment and for education that is required for a physically or mentally challenged dependent child for whom no
              public education providing similar services is available.                                                                   $

    30
              Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.               $
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
    31        health care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include
              payments for health insurance or health savings accounts listed in Line 34.                                                 $
              Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you
              actually pay for telecommunication services other than your basic home telephone service - such as cell phones,
    32
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                          $
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $

                                             Subpart B: Additional Expense Deductions under § 707(b)
                                  Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List and total
              the average monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following
              categories.

    34         a.         Health Insurance                                                   $
               b.         Disability Insurance                                               $
               c.         Health Savings Account                                             $
                                                                                         Total: Add Lines a, b and c                      $
              Continued contributions to the care of household or family members. Enter the actual monthly
    35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill,
              or disabled member of your household or member of your immediate family who is unable to pay for such expenses.             $
              Protection against family violence. Enter any average monthly expenses that you actually incurred to
    36        maintain the safety of your family under the Family Violence Prevention and Services Act or other applicable federal
              law. The nature of these expenses is required to be kept confidential by the court.                                         $
              Home energy costs. Enter the average monthly amount, in excess of the allowance in the IRS Local Standards
    37        for Housing and Utilities, that you actually expend for home energy costs. You must provide your case trustee
              with documentation demonstrating that the additional amount claimed is reasonable and necessary.                            $
              Education expenses for dependent children less than 18. Enter the average monthly expenses that
              you actually incur, not to exceed $137.50 per child, in providing elementary and secondary education for your
    38        dependent children less than 18 years of age. You must provide your case trustee with documentation
              demonstrating that the amount claimed is reasonable and necessary and not already accounted for in the
              IRS Standards.                                                                                                              $
              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
    39        percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.) You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                      $

    40
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
              cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                                  $




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                                                             Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that
              you own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
    42        Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the
              60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of
              taxes and insurance required by the mortgage. If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt                60-month Average Payment
                 a.                                                                                      $
                                                                                                                         Total: Add Lines   $

              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence,
              a motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the payments
              listed in Line 42, in order to maintain possession of the property. The cure amount would include any sums in default
              that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in the following chart.
              If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt                 1/60th of the Cure Amount
                 a.                                                                                      $
                                                                                                                         Total: Add Lines   $

    44
              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and
              alimony claims), divided by 60.                                                                                               $
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
              following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                          $
    45         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                                      x
               c.        Average monthly administrative expense of Chapter 13 case                   Total: Multiply Lines a and b          $
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                    $

                                               Subpart D: Total Deductions Allowed under § 707(b)(2)
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                   $



                                              Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                        $
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                             $
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                              $

    51
              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
              enter the result.                                                                                                             $




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              Initial presumption determination. Check the applicable box and proceed as directed.

                 The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
                  The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of
              this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
              through 55).

    53        Enter the amount of your total non-priority unsecured debt                                                                             $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                                 $
              Secondary presumption determination. Check the applicable box and proceed as directed.

                    The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the
              top of page 1 of this statement, and complete the verification in Part VIII.
    55
                  The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption
              arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.




                                                             Part VII. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I).
              If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
              expenses.

    56                 Expense Description                                                                                          Monthly Amount
               a.                                                                                                  $
               b.                                                                                                  $
               c.                                                                                                  $
               d.                                                                                                  $
                                                                            Total: Add Lines a, b, c, and d        $


                                                                           Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    August 17, 2007                                      Signature: /s/ Richard Browning, Jr.
                                                                                                                       Richard Browning, Jr.
    57                                                                                                                          (Debtor)

                                 Date:       August 17, 2007                                           Signature       /s/ Jessica Browning
                                                                                                                        Jessica Browning
                                                                                                                                (Joint Debtor, if any)




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